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 Fill in this information to identify your case:
 Debtor 1           Jerome                Albert                Grisaffi
                    First Name            Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name           Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number        19-33855-sgj
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
        No
        Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




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Debtor 1       Jerome Albert Grisaffi                                                    Case number (if known)     19-33855-sgj

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income          Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.      (before deductions
                                                                             and exclusions                                   and exclusions

From January 1 of the current year until              Wages, commissions,                  $0.00      Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,            $84,000.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,        $1,640,000.00        Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                    Debtor 1                                        Debtor 2

                                                  Sources of income           Gross income         Sources of income           Gross income
                                                  Describe below.             from each source     Describe below.             from each source
                                                                              (before deductions                               (before deductions
                                                                              and exclusions                                   and exclusions

From January 1 of the current year until          Stock Sales                        $25,000.00
the date you filed for bankruptcy:                Social Security                    $22,000.00



For the last calendar year:                       Stock Sales                        $27,896.00
(January 1 to December 31, 2018 )                 Social Security                    $26,059.00
                                YYYY



For the calendar year before that:                Stock Sales                    $1,825,000.00
(January 1 to December 31, 2017 )                 Social Security                   $25,531.00
                                YYYY




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Debtor 1         Jerome Albert Grisaffi                                                        Case number (if known)     19-33855-sgj


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                   "incurred by an individual primarily for a personal, family, or household purpose."

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                   * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                           Also, do not include payments to an attorney for this bankruptcy case.

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                 Nature of the case                           Court or agency                               Status of the case
Rocky Mountain High Brands,                Judgment                                     192nd District Court
                                                                                                                                                Pending
Inc., et al. v. Jerry Grisaffi, et al.                                                  Court Name
                                                                                        Dallas County, Texas                                    On appeal
                                                                                        Number     Street
Case number DC-17-15441                                                                 600 Commerce Street                                     Concluded

                                                                                        Dallas                    TX       75201
                                                                                        City                      State    ZIP Code




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Debtor 1         Jerome Albert Grisaffi                                                       Case number (if known)    19-33855-sgj

Case title                                   Nature of the case                        Court or agency                              Status of the case
Jerry Grisaffi v. Rocky                      Appeal / Contract                         5th Court of Appeals
                                                                                                                                              Pending
Mountain High Brands, Inc.                                                             Court Name
                                                                                                                                              On appeal
                                                                                       Number     Street
Case number 05-18-01020-cv                                                                                                                    Concluded

                                                                                       Dallas                   TX       75201
                                                                                       City                     State    ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

 Part 6:          List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

Describe the property you lost and how                 Describe any insurance coverage for the loss             Date of your           Value of property
the loss occurred                                      Include the amount that insurance has paid. List pending loss                   lost
                                                       insurance claims on line 33 of Schedule A/B: Property.
                                                                                                                                          $6,500.00
Rolex watch - stolen




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Debtor 1       Jerome Albert Grisaffi                                                       Case number (if known)     19-33855-sgj

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment         Amount of
Joyce W. Lindauer Attorney, PLLC                     Included the filing fee of $1,717.00                       or transfer was      payment
Person Who Was Paid                                                                                             made

12720 Hillcrest Road                                                                                            November 2019           $11,717.00
Number      Street

Suite 625

Dallas                        TX       75230
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

                                                     Description and value of any            Describe any property or payments          Date transfer
Unknown                                              property transferred                    received or debts paid in exchange         was made
Person Who Received Transfer                         Stock sales to raise money              Best In Pet Stock                          October 2018
                                                                                             $20,000
Number      Street




City                          State    ZIP Code

Person's relationship to you




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Debtor 1       Jerome Albert Grisaffi                                                   Case number (if known)     19-33855-sgj

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.




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Debtor 1        Jerome Albert Grisaffi                                                          Case number (if known)         19-33855-sgj

  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

            No
            Yes. Fill in the details.
25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.

  Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

                                                  Describe the nature of the business                 Employer Identification number
Rocky Mountain High                               Drink Company                                       Do not include Social Security number or ITIN.
Business Name
                                                                                                      EIN: 9     0 – 0         8     9   5    6    7    3
9101 LBJ Freeway                                  Name of accountant or bookkeeper
Number       Street
                                                  Jen Milke                                           Dates business existed
Suite 210
                                                                                                      From     6/1/2014            To 11/18/2019
Dallas                     TX      75243
City                       State   ZIP Code




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Debtor 1      Jerome Albert Grisaffi                                                  Case number (if known)    19-33855-sgj

                                            Describe the nature of the business            Employer Identification number
                                   Land Investment
Land and Estate Venture Company, LLC                                                       Do not include Social Security number or ITIN.
Business Name
                                                                                           EIN: 8    2 – 2      3     2   0    7    7    8
10573 W. Pico Blvd.                         Name of accountant or bookkeeper
Number     Street
                                            Unknown                                        Dates business existed

                                                                                           From     6/18/2017       To 11/18/2019
Los Angeles           CA      90064
City                  State   ZIP Code

                                            Describe the nature of the business            Employer Identification number
Right on Brands Inc. - CEO                  Health and Wellness Company                    Do not include Social Security number or ITIN.
Business Name
                                                                                           EIN: 4    5 – 1      9     9   4    4    7    8
3532 Skylane Drive                          Name of accountant or bookkeeper
Number     Street
                                            David Youssefeyh                               Dates business existed
Suite 127
                                                                                           From     9/1/2016        To 11/18/2019
Carrollton            TX      75006
City                  State   ZIP Code

                                            Describe the nature of the business            Employer Identification number
Republic of Texas Food Company                                                             Do not include Social Security number or ITIN.
Business Name
                                                                                           EIN:          –
                                            Name of accountant or bookkeeper
Number     Street
                                                                                           Dates business existed

                                                                                           From                     To

City                  State   ZIP Code

                                            Describe the nature of the business            Employer Identification number
Republic of Texas Apparel Company                                                          Do not include Social Security number or ITIN.
Business Name
                                                                                           EIN:          –
                                            Name of accountant or bookkeeper
Number     Street
                                                                                           Dates business existed

                                                                                           From                     To

City                  State   ZIP Code

                                            Describe the nature of the business            Employer Identification number
Chill Texas, Inc.                                                                          Do not include Social Security number or ITIN.
Business Name
                                                                                           EIN:          –
                                            Name of accountant or bookkeeper
Number     Street
                                                                                           Dates business existed

                                                                                           From                     To

City                  State   ZIP Code




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Debtor 1          Jerome Albert Grisaffi                                                    Case number (if known)    19-33855-sgj

                                                  Describe the nature of the business            Employer Identification number
Rocky Mountain High Clothing Inc.                                                                Do not include Social Security number or ITIN.
Business Name
                                                                                                 EIN:          –
                                                  Name of accountant or bookkeeper
Number         Street
                                                                                                 Dates business existed

                                                                                                 From                     To

City                         State   ZIP Code

                                                  Describe the nature of the business            Employer Identification number
Rocky Mountain High Brands, Inc.                                                                 Do not include Social Security number or ITIN.
Business Name
                                                                                                 EIN:          –
                                                  Name of accountant or bookkeeper
Number         Street
                                                                                                 Dates business existed

                                                                                                 From                     To

City                         State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

              No
              Yes. Fill in the details below.

  Part 12:          Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Jerome Albert Grisaffi                                 X
       Jerome Albert Grisaffi, Debtor 1                          Signature of Debtor 2

       Date       12/06/2019                                     Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       No
       Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

       No
       Yes. Name of person                                                                        Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                  Declaration, and Signature (Official Form 119).




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